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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                       Plaintiff,

                                                                      DECISION AND ORDER

                                                                      05-CR-6161L

                       v.

DAVID FINNMAN,



                              Defendant.
________________________________________________


       Defendant, David Finnman (“Finnman”), was convicted after trial and was sentenced by this

Court, principally to a term of 21 months. Both Finnman and the Government have filed Notices

of Appeal. At the sentencing, the Court did grant Finnman’s request to voluntarily surrender, and

it appears that the Bureau of Prisons has notified Finnman that he must surrender at a federal

correctional institution on April 15, 2009.

       Finnman now moves for release pending appeal. The Government opposes the motion.

       The Court heard oral argument on the application on the 13th day of April, 2009, and the

Court denied the motion.

       Finnman has stated his intention to appeal that decision to the United States Court of Appeals

for the Second Circuit. As a courtesy to that Court and to counsel in order to allow a reasonable time

to consider the appeal, I hereby stay Finnman’s surrender date until May 14, 2009.         Defendant
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David Finnman is ordered to self-surrender to the FCI at Tuscon, Arizona on May 14, 2009 at 10:00

a.m.

       IT IS SO ORDERED.



                                     _______________________________________
                                              DAVID G. LARIMER
                                            United States District Judge


Dated: Rochester, New York
       April 13, 2009.




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